CASE 0:17-cv-00103-RWP Doc. 1-3 Filed 01/10/17 (PAgvwiigeEe “TOD / BR-

CERTIFICATE OF SER VICE
I hereby certify that a true and complete copy of the foregoing filed Federal Court Complaint &
Injunctive Relief Requests, with required attachments, has been duly served via Minnesota
Judicial Branch Odyssey Electronic Filing systems upon:
DEFENDANT HENNEPIN COUNTY-4th DISTRICT COURT, et al
DEFENDANT GEORGE F. BORER, et al

DEFENDANT JUSTIN H. JENKINS, et al
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Panama City FL 324

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US. DISTRICT COURT ST. Pau,
